
In re State of Louisiana; — Plaintiff(s); applying for writ of certiorari and/or review; to the Court of Appeal, Second Circuit, No. 28033-KH; Parish of Ouachita, 4th Judicial District Court, Div. “E”, No. 40,035.
Granted. The present case is distinguishable from State v. Nomey, 613 So.2d 157 (La.1993), since the trial judge never ruled on defendant’s motion for appointment of a sanity commission. Unlike Nomey, there was no threshold determination by the trial judge that a sanity commission should be appointed. Therefore, by failing to request a hearing on this motion prior to entering his guilty plea, defendant implicitly waived his right to have the motion heard. Accordingly, the judgment of the court of appeal is vacated and set aside and the judgment of the trial court denying post conviction relief is reinstated.
